Case 8:16-cv-00059-JLS-KES Document 92 Filed 06/08/18 Page 1 of 2 Page ID #:1010



  1   BLUMENTHAL NORDREHAUG BHOWMIK DE BLOUW, LLP
       Norman B. Blumenthal (State Bar #068687)
  2    Kyle R. Nordrehaug (State Bar #205975)
       Aparajit Bhowmik (State Bar #248066)
  3    Piya Mukherjee (State Bar #274217)
      2255 Calle Clara
  4   La Jolla, CA 92037
      Telephone: (858)551-1223
  5   Facsimile: (858) 551-1232
  6   Attorneys for Plaintiff
  7
  8
  9
 10
                             UNITED STATES DISTRICT COURT
 11
                           CENTRAL DISTRICT OF CALIFORNIA
 12
 13    MARIA CHONA RODRIGUEZ, an                   CASE No. 8:16-CV-00059-JLS-KES
 14    individual, on behalf of herself, and on
       behalf of all persons similarly situated,
 15                                                NOTICE OF MOTION AND
                                                   MOTION FOR FINAL APPROVAL
 16                 Plaintiff,                     OF CLASS SETTLEMENT

 17    vs.
                                                   Judge: Hon. Josephine L. Staton
 18    EL TORO MEDICAL INVESTORS
       LIMITED PARTNERSHIP, a Limited              Hearing Date: June 22, 2018
 19    Partnership; LIFE CARE CENTERS              Hearing Time: 2:30 p.m.
       OF AMERICA, INC., a Corporation;
 20    and DOES 1 through 50, inclusive,
                                                   Action Filed: January 15, 2016
 21                 Defendants.
 22
 23    ________________________________
 24
 25
 26
 27
 28

               NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
                                                                         Case Nos.8:16-CV-00059
Case 8:16-cv-00059-JLS-KES Document 92 Filed 06/08/18 Page 2 of 2 Page ID #:1011



  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE THAT on June 22, 2018, at 2:30 p.m. in the
  3   United States District Court for the Central District of California, located at the
  4   Ronald Reagan Federal Building and United States Courthouse, 411 W. Fourth St.,
  5   Santa Ana, CA, 92701, in Courtroom 10A before the Honorable Josephine L.
  6   Stanton, Plaintiff Maria Rodriguez ("Plaintiff") will move and hereby does move will
  7   move and hereby does move for Final Approval of the Class Settlement, in
  8   accordance with the Class Action Settlement Agreement ("Agreement") between the
  9   parties, filed concurrently with this motion.
 10         The motion will be based on this Notice of Motion, the Memorandum of Points
 11   and Authorities filed herewith, the Declaration of Norman Blumenthal and attached
 12   exhibits, the Declaration of the Settlement Administrator (Andy Morrison), the
 13   argument of counsel and upon such other material contained in the file and pleadings
 14   of this action. This motion is made following the conference of counsel before the
 15   Court pursuant to L.R. 7-3 wherein the parties agreed on the filing of this unopposed
 16   motion as set forth in the Agreement with Defendants El Toro Medical Investors, L.P.
 17   and defendant Life Care Centers of America, Inc. ("Defendants").
 18         Respectfully submitted,
 19
 20   Dated: June 8, 2018              BLUMENTHAL NORDREHAUG BHOWMIK DE
                                       BLOW, LLP
 21
                                       By:     /s/ Kyle Nordrehaug
 22                                           Norman B. Blumenthal
                                              Kyle R. Nordrehaug
 23                                           Attorneys for Plaintiff
 24
 25
 26
 27
 28

               NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
                                               -1-                       Case Nos.8:16-CV-00059
